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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JENNIFER NOVIELLI                             :      CIVIL ACTION
                                              :
               v.                             :
                                              :
TREC GROUP, INC.                              :      NO. 16-1247

                                             NOTICE

                                                     March 29, 2017

Before: THOMAS J. RUETER, UNITED STATES MAGISTRATE JUDGE

       Please be advised that a settlement conference in the above-captioned case will be held
on April 27, 2017 at 10:00 a.m. The conference will take place in Courtroom 3-C, Third
Floor, United States Courthouse, 601 Market Street, Philadelphia, Pennsylvania.

       If trial counsel is on trial in a court of record prior to the time of the conference, the
Judge and opposing counsel should be advised of this in writing at the earliest possible date
and another attorney in such trial counsel's office, who should be as familiar as is feasible
with the case and have authority from the client and an evaluation of the case for settlement
purposes, should appear at the conference.1

       Failure to comply with this directive may result in the imposition of sanctions. The
conference will be continued to another date only in exceptional cases.

                                                     By:

                                                     /s/ Lisa Tipping
                                                     Lisa Tipping
                                                     Deputy Clerk
                                                     Office No. 215-597-0048
                                                     Fax No. 215-580-2392




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                        Clients are required to attend settlement conferences, unless excused
by the court. If so excused, the client must be available by telephone. In a personal injury
case where a plaintiff’s workmen’s compensation carrier is seeking satisfaction of its lien
on any recovery, the plaintiff’s attorney must have the representative of the carrier present
or available by telephone. Judge Rueter does not require submissions in advance, although
he invites all parties to submit any information they believe would be helpful at least two
days prior to the conference.
